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 12    Holdings, LLC
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 17    DOMI Publications, LLC
 18
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 19
                        SOUTHERN DISTRICT OF CALIFORNIA
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       MEMORANDUM OF POINTS AND AUTHORITIES ISO JOINT MOTION FOR
                        DISCOVERY SANCTIONS
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       JANE DOE NOS. 1-14, inclusive,                Case No. 19cv0160-WQH-BLM
  1    individuals;
  2                    Plaintiffs,                   DEFENDANTS’ MEMORANDUM
  3
                                                     OF POINTS AND AUTHORITIES
       v.                                            IN SUPPORT OF JOINT MOTION
  4
                                                     FOR DISCOVERY SANCTIONS
       GIRLSDOPORN.COM, a business
       organization, form unknown;
  5    MICHAEL J. PRATT, an individual;              Date: TBD
       ANDRE GARCIA, an individual;                  Time: TBD
  6    MATTHEW WOLFE, an individual;
       BLL MEDIA, INC., a California                 Magistrate: Hon. Barbara L. Major
  7    corporation; BLL MEDIA
       HOLDINGS, LLC, a Nevada limited
  8    liability company; DOMI
       PUBLICATIONS, LLC, a Nevada
  9    limited liability company; EG
       PUBLICATIONS, INC., a California
 10    corporation; MlM MEDIA, LLC, a
       California limited liability company;
 11    BUBBLEGUM FILMS, INC., a
       business organization, form unknown;
 12    OH WELL MEDIA LIMITED, a
       business organization, form unknown;
 13    MERRO MEDIA, INC., a California
       corporation; MERRO MEDIA
 14    HOLDINGS, LLC, a Nevada limited
       liability company; and ROES 1 - 500,
 15    inclusive,
 16                       Defendants.
 17
                 Defendants GIRLSDOPORN.COM, MICHAEL J. PRATT, ANDRE
 18
       GARCIA, MATTHEW WOLFE, BLL MEDIA, INC., BLL MEDIA HOLDINGS,
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       LLC, EG PUBLICATIONS, INC., M1M MEDIA, LLC, MERRO MEDIA, INC.,
 20
       and MERRO MEDIA HOLDINGS, LLC, represented by attorneys Aaron D.
 21
       Sadock and Daniel A. Kaplan, and defendant DOMI PUBLICATIONS, LLC,
 22
       represented by attorney George D. Rikos, hereby respectfully submit this
 23
       Memorandum of Points and Authorities in Support of their Joint Motion for
 24
       Discovery Sanctions.
 25
            I.      INTRODUCTION
 26
                 On January 23, 2019, defendant Michael Pratt filed for Bankruptcy in the
 27
       Southern District. (Sadock Decl., ¶ 2, Ex. A.) On January 24, 2019, Mr. Pratt
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  1    removed the San Diego Superior Court action to the Southern District Court of
  2    California. (Dkt. No. 1.) On January 24, 2019, after receipt of the notice of
  3    removal, the San Diego Superior Court Judge, Hon. Joel R. Wohlfeil, stayed the
  4    state court action. (Sadock Decl., ¶ 7, Ex. F.)
  5             On January 25, 2019, this Court issued a scheduling order. (Dkt. No. 5.) As
  6    part of the scheduling order, the Court set, in part, the following deadlines: (1)
  7    conduct Fed. R. Civ. P. 26(f) conference by February 6, 2019; (2) file a joint
  8    discovery plan by February 15, 2019; (3) set an Early Neutral Evaluation for
  9    February 27, 2019.
 10             Despite the bankruptcy stay, the state court stay, this Court’s scheduling
 11    order and Federal Rules of Civil Procedure Rule 26, Plaintiffs unilaterally
 12    proceeded with discovery warranting sanctions.
 13       II.      LEGAL ARGUMENT
 14             Federal Rules of Civil Procedure Rule 37(b)(2) provides this Court with
 15    authority to sanction a party for not complying with a discovery order. Discovery
 16    orders, other pretrial orders, and all orders governing management of the case are
 17    enforceable under pain of sanctions for unjustifiable violation. Barreto v. Citibank,
 18    NA (Puerto Rico) 1990, 907 F.2d 15. Trial judges have considerable discretion in
 19    selecting and imposing sanctions. Id.
 20             In addition, the Southern District of California District Court maintains Local
 21    Rule 83.1, which provides this Court with additional authority to sanction Plaintiffs
 22    and their counsel for violating the Federal Rules of Civil Procedure or any court
 23    order.
 24             Fed. R. Civ. P. 26(d)(1) specifically prohibits a party from conducting any
 25    discovery from any source until the parties have conferred as required by Rule
 26    26(f). This Magistrate’s clerk further confirmed that discovery is not open. (Decl.
 27    Rikos ¶ 6.)
 28       On January 28, 2019, without seeking court permission, Plaintiffs’ counsel,
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  1    Brian Holm, Esq. conducted the deposition of third-party Audrey Pina. (Sadock
  2    Decl., ¶ 13, Ex. K.) On January 29, 2019, Mr. Holm conducted the deposition of
  3    third-party witness Kailyn Wright.1 (Sadock Decl., ¶ 14, Ex. L.) Both of these
  4    witnesses appeared pursuant to subpoenas that Mr. Holm issued in the state court
  5    action. Both depositions were taken in violation of the state court stay order and in
  6    violation of this Court’s scheduling order as well as Federal Rules of Civil
  7    Procedure Rule 26.
  8           Portions of the rough draft transcripts of the depositions reveal that Mr. Holm
  9    failed to inform the third-party witnesses of the state court’s stay order or
 10    bankruptcy stay. Moreover, Mr. Holm did not mention on the record the fact that
 11    discovery was not open in the Federal Action. In addition, Mr. Holm did not tell
 12    the witnesses that they were no longer compelled to attend their depositions under
 13    his state court subpoenas due to the removal of the case. Rather, without the
 14    presence of any of the defense attorneys, Mr. Holm proceeded to provide the
 15    witnesses with admonitions of the deposition process and took their depositions.
 16    (See Sadock Decl., ¶¶ 13-14, Ex. K, L.)
 17           On or about February 5, 2018, defense counsel discovered that Plaintiffs had
 18    issued but kept secret two additional third-party subpoenas for the production of
 19    business records that Plaintiffs did not serve on Defendants at all in either the state
 20    action or Federal Action. (Rikos Decl., ¶ 7; Sadock Decl., ¶¶ 17-18.) These
 21    subpoenas were issued to GoDaddy, Inc. and Domains by Proxy, LLC. Mr. Holm,
 22    apparently chose to issue two subpoenas and serve the third parties but not serve the
 23    Defendants. In addition, Mr. Holm never informed the third parties the subpoenas
 24    were subject to a state court stay order. Moreover, Mr. Holm never advised the
 25    third parties of the fact the case was removed to Federal Court where discovery was
 26
       1
 27     Kailyn Wright is actually a named defendant, but she was subpoenaed for her deposition
       because have never served her with a summons or complaint. According to the rough transcript of
 28    her deposition, Mr. Holm did not inform her that she is a named defendant, and instead treated
       her solely as a third-party witness. (Sadock Decl., ¶ 14, Ex. L.)
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  1    not open, or that the case was subject to a bankruptcy stay. Defendants only
  2    discovered the subpoenas from email notifications sent from the third parties to
  3    Defendants directly informing them that Plaintiffs were seeking Defendants’
  4    records. (Rikos Decl., ¶ 7; Sadock Decl., ¶¶ 17-18.) To date, and despite requesting
  5    them from Plaintiffs’ counsel multiple times, Defendants still do not have the
  6    subpoenas. (Sadock Decl., ¶ 18.)
  7          The above violations by Plaintiffs’ counsel were willful. On January 28,
  8    2019, after debtor Michael Pratt filed for bankruptcy and removed the matter to
  9    Federal Court, Mr. Holm sent an email communication specifically stating that if
 10    the Defendants did not attend the depositions he noticed in the stayed state action,
 11    the Defendants should work out the ramifications with the Defense counsel’s clients
 12    and their professional liability carrier. (Sadock Decl., ¶ 12, Ex. J.) Such an email
 13    is a direct suggestion that the depositions would be going forward, and if
 14    Defendants’ counsel failed to attend it would be tantamount to malpractice.
 15          Such audacious communications are not appropriate pursuant to Local Rule
 16    83.4. In addition, the statements demonstrate Mr. Holm’s willful violation of a
 17    bankruptcy stay, state court action stay, and this Court’s scheduling order, as well
 18    as Fed. R. Civ. P. 26(d)(1).
 19          Over the course of the past two weeks, Defendants have repeatedly asked
 20    Plaintiffs to simply state what discovery they were conducting, to no avail. A copy
 21    of numerous attempts to resolve this matter and inquire as to what discovery was
 22    being conducted is attached for this Court’s consideration. (Rikos Decl., ¶¶ 3-6,
 23    Ex. 2-4.) It was only when the rough drafts of the deposition transcripts were
 24    received that it was determined at least two depositions were conducted improperly.
 25    (Sadock Decl., ¶¶ 13-14, Ex. K, L.) In fact, when defense counsel attempted to
 26    obtain the deposition transcripts, the court reporter advised that Mr. Holm
 27    instructed her to not produce the transcripts without his authorization.
 28       On January 30, 2019, after both depositions described above, were taken, Mr.
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  1    Chapin would not confirm whether such discovery was being conducted, but rather
  2    stated, “We are not precluded from investigating our case which will likely be
  3    remanded shortly, so focus on your prep and not what we are doing.” (Rikos Decl.,
  4    ¶ 5, Ex. 3.) Then again, on January 31, 2019, Mr. Chapin stated that “as I
  5    understand it depositions are adversary proceedings. There have been no such
  6    proceedings.” (Rikos Decl., ¶ 5, Ex. 3.) Such a statement was false as two
  7    depositions had already been conducted by Plaintiffs’ counsel. (See Sadock Decl.,
  8    ¶¶ 13-14, Ex. K, L.)
  9          In fact, as of February 6, 2019, at the 26(f) conference meeting, Plaintiffs’
 10    Counsel, Ed Chapin, Esq., initially claimed the depositions of the two third-party
 11    witnesses were not depositions at all, but rather recorded statements. (Rikos Decl.,
 12    ¶ 10.) When advised that deposition admonitions were provided to the witnesses,
 13    Mr. Chapin immediately changed course and indicated he would not yet commit as
 14    to whether the depositions were depositions or something else. (Decl. Rikos ¶ 10.)
 15    Likewise, Mr. Chapin confirmed the two business records subpoenas were never
 16    served on Defendants. However, despite numerous requests, the subpoenas have
 17    still not been provided to the Defendants. (Sadock Decl., ¶ 18.)
 18          Based upon the above willful conduct, Defendants, jointly, request sanctions.
 19    First and foremost, Defendants request the testimony of both witnesses deposed be
 20    stricken and those witnesses be excluded from testifying at trial. In addition, the
 21    Defendants request monetary sanctions in an amount not less than $5,650 for their
 22    efforts to resolve this issue informally and Plaintiffs’ failure to meaningfully
 23    respond. (Decl. Rikos ¶ 13.)
 24    ///
 25    ///
 26    ///
 27    ///
 28    ///
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  1          Finally, Defendants request Plaintiffs be enjoined from conducting any
  2    further discovery until after the ENE conference. It is believed the ENE conference
  3    will be meaningful with all parties and their attorneys present.
  4

  5    Date: February 8, 2019                 LAW OFFICES OF GEORGE RIKOS
  6

  7                                                By:    /s/ George Rikos
                                                          George Rikos
  8                                                       Attorneys for Defendant
                                                          DOMI Publications, LLC
  9

 10    Date: February 8, 2019                 PANAKOS LAW, APC
 11

 12                                                By:    /s/ Aaron D. Sadock
                                                          Aaron D. Sadock
 13                                                       Attorneys for Defendants

 14

 15
       Date: February 8, 2019                 LAW OFFICES OF DANIEL A.
                                              KAPLAN
 16

 17                                                By:    /s/ Daniel A. Kaplan
                                                          Daniel A. Kaplan
 18                                                       Attorneys for Defendants
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                        DISCOVERY SANCTIONS
